      Case 1-15-42763-nhl         Doc 69     Filed 04/29/18      Entered 04/30/18 13:55:17




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:                                                    : Chapter 7
                                                           :
 PAWEL CAPALA,                                             : Case No. 1-15-42763-nhl
                                                           :
                            Debtor.                        :
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                         ORDER DENYING JENNIFER CAPALA’S
                        MOTION TO DISMISS BANKRUPTCY CASE

       Upon the motion (the “Motion”) of Jennifer Capala (“Ms. Capala”) for the dismissal of

the bankruptcy case of Pawel Capala (the “Debtor”) [Doc. No. 60]; and the Court having

reviewed the Motion, the Trustee’s Response and Objection to the Motion [Doc. No. 63] (the

“Objection”); the Response to the Objection by Ms. Capala [Doc. No. 65] (the “Reply”); the

Debtor’s Statement of Non-Objection/Support to the Motion [Doc. No. 66] (the “Debtor’s

Statement”); and no other pleadings having been filed in connection with the Motion; and a

hearing on the Motion having been held on April 17, 2018 (the “Hearing”), at which Michael D.

Assaf, Esq. appeared on behalf of Ms. Capala, Gabriel Del Virginia, Esq. appeared on behalf of

the Debtor, and John P. Campo appeared on behalf of the Trustee; and the Court having heard

arguments of counsel in support of and in opposition to the relief requested in the Motion at the

Hearing; and proper and adequate notice of the Motion and the Hearing having been given, and

no further notice being necessary; and based on the record of the Hearing and for the reasons set

forth by the Court on the record at the Hearing, it is hereby



                           [The Order continues on the following page.]
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         ORDERED, that the Motion is DENIED.




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  Dated: April 29, 2018                                      Nancy Hershey Lord
         Brooklyn, New York                2            United States Bankruptcy Judge
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